        Case 1-18-01004-nhl            Doc 7       Filed 02/07/18   Entered 02/07/18 16:36:06




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                    Chapter 7

         84 ELTON LLC,                                                    Case No.: 18-40038-nhl

                                    Debtor.
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THE ESTATE OF RAFAEL RODRIGUEZ,
GEORGE RODRIGUEZ, and
PULASKI STREET CORP.,

                                    Plaintiffs,

         -against-                                                        Index No. 501730/2017

KONITZ I INC.; SHABSI PFEIFFER, individually,
and in his capacity as an officer of Konitz I Inc.;
RODRIGUEZ 319 & 321 CORP.; NAZRUL ISLAM,
individually and in his capacity as an officer of
Rodriguez 319 & 321 Corp.; 84 ELTON LLC;
B & H ASSOCIATES GROUP LLC; and
BERNARD NIEDERMAN, individually and as a
member of 84 Elton LLC and a member of
B & H Associates Group LLC,

                                    Defendants.
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                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                   )
                                    ) ss:
COUNTY OF SUFFOLK                   )

         EVERLYN MEADE-BRAMBLE, being duly sworn, deposes and says:

         Deponent is not a party to this action, is over 18 years of age and resides at Bronx, New York;

         On the 7th day of February, 2018 deponent served the NOTICE OF REMOVAL OF STATE
COURT ACTION TO UNITED STATES BANKRUPTCY COURT UNDER 28 U.S.C. § 1452
AND RULE 9027(a) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE with
EXHIBITS attached thereof, upon the attorneys/parties listed on the annexed list at the addresses
listed, said addresses designated for that purpose, via Federal Express Overnight Mail to:

See attached
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                                                       s/Everlyn Meade-Bramble
                                                       Everlyn Meade-Bramble

Sworn to before me this
7th day of February, 2018

s/ Scott T. Dillon
SCOTT T. DILLON
Notary Public, State of New York
No. 02D16152101
Qualified in Suffolk County
Commission Expires October 22, 2018
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Clerk of the Kings County Surrogate’s Court
Attn: Miscellaneous Department
2 Johnson Street
Brooklyn, NY 11201
